       Case 4:18-cv-00191-CDL Document 88 Filed 06/12/19 Page 1 of 9



                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF GEORGIA
                           COLUMBUS DIVISION

ROBERT J. FREY,                       *

      Plaintiff,                      *

vs.                                   *
                                             CASE NO. 4:18-CV-191 (CDL)
ANTHONY BINFORD MINTER and            *
HAROLD BLACH, JR.,
                                      *
      Defendants.


                                O R D E R

      Presently    pending   before   the   Court   are   Anthony   Binford

Minter’s motions to compel.        First, Minter seeks a response to

his first request for production of documents from Robert J.

Frey, which Minter served on Frey via email on January 25, 2019

(ECF No. 79).      Second, Minter seeks a supplemental response to a

subpoena he served on the        non-party    law firm Hunton Andrews

Kurth (“Hunton”) on January 25, 2019 (ECF No. 80).

I.    Minter’s Motion to Compel Frey (ECF No. 79)

      A.   First Request for Production of Documents

      This action was originally filed in Florida state court and

removed to the U.S. District Court for the Middle District of

Florida.    The    parties filed a joint case management report,

proposing a discovery deadline of January 26, 2019 and agreeing

that “all discovery must be commenced in time to be completed

before this     date.”    Case Mgmt. Report 1, ECF No. 26.              The
         Case 4:18-cv-00191-CDL Document 88 Filed 06/12/19 Page 2 of 9



parties    further      agreed       that       each    party     would       “timely    serve

discovery requests so that the rules allow for a response prior

to the discovery deadline.”                 Id. at 8.           The Middle District of

Florida entered a scheduling order directing the parties “to

meet the agreed upon terms and time limits set forth in their

Case Management Report” and stating that discovery would end on

January 26, 2019.          Case Mgmt. & Scheduling Order 1 ¶ 1, ECF No.

29.      The   Middle     District         of    Florida      later      stayed      discovery

pending    a   ruling     on    several         motions.        After        the   action    was

transferred to this Court, the discovery stay remained in effect

until the Court ruled on the pending motions on December 4,

2019.      Then,    the    Court       entered         an    order      stating      that    the

discovery deadline set in the original scheduling order would

remain    in   effect.         Text    Order        (Dec.    5,    2018),      ECF    No.    51.

Neither side sought an extension of the discovery deadline.

      Frey appealed several of the Court’s rulings on January 3,

2019,    though    there       was    no    final       order     and    no    right    to   an

immediate appeal.          The Court did not stay discovery, and the

parties continued engaging in discovery.                          The Eleventh Circuit

later     dismissed       Frey’s       appeal          for   lack       of     jurisdiction.

Corrected Mandate (Mar. 1, 2019), ECF No. 67.                                At that point,

the Court anticipated that the parties would need an extension

of the discovery deadline.                 The Court thus found good cause for

an amended scheduling order and instructed the parties to submit


                                                2
         Case 4:18-cv-00191-CDL Document 88 Filed 06/12/19 Page 3 of 9



a   joint     proposed       scheduling       order    that    included          an    updated

discovery deadline.              Text Order (Mar. 6, 2019), ECF No. 69.

      The parties agreed that no further discovery was needed,

although they did agree to a deadline for motions to compel

previously         issued    discovery        requests.        The       Court     initially

entered an amended scheduling order that provided for no motions

to compel, noting that any discovery motions should have been

filed     during        discovery.            Minter        sought       reconsideration,

asserting that the parties had agreed that “no new discovery

requests would be issued, but that they could seek Court action

on requests that had already been issued.”                               Def.’s Mot. for

Recons.       4,     ECF     No.     72.       Frey     opposed          the     motion    for

reconsideration,           anticipating       that    Minter       may    seek    to    compel

responses to discovery requests that were made on the eve of the

discovery      deadline.           Confusion       existed    because          while   neither

side sought an extension of the discovery deadline because they

did     not    intend       to     propound    new     discovery,         Minter       clearly

intended to compel responses to previously propounded discovery

even though he apparently overlooked the fact that the requests

were not served in time to be responded to by the previously

imposed discovery deadline.

      The Court granted the motion for reconsideration in a text

order    and       adopted    the    deadlines       that    the    parties       originally

proposed.      In doing so, the Court knew that any motion to compel


                                               3
         Case 4:18-cv-00191-CDL Document 88 Filed 06/12/19 Page 4 of 9



would       likely    relate    to     discovery        requests    that    were    served

during       discovery,      even     those   that      were     technically       untimely

under the Case Management and Scheduling Order.                          And, had Minter

simply requested an extension of the discovery deadline so that

the responses would have been due before the expiration of the

new deadline, the Court almost certainly would have granted it.

Minter’s failure to make that simple request has presented the

dilemma he faces today.               The Court permitted him additional time

to file a motion to compel responses to discovery, yet that

discovery arguably remains untimely given Minter’s failure to

ask    for     a    simple   extension       of   the     discovery    deadline.         The

question       is    whether     he    has    now    waived      his     right     to    seek

discoverable evidence that he would have been entitled to had he

simply asked.             The Court finds that he has not.

       Given that the Court had found good cause for an amendment

of the scheduling order and had invited the parties to extend

all    of    the     deadlines,       including     the    discovery       deadline,      the

Court’s ruling that permitted post-discovery motions to compel

likewise included the right to compel responses to any discovery

that     had       been    propounded     prior      to    the     expiration      of    the

discovery deadline, even if responses to that discovery could

not have been made prior to the previous discovery deadline.                              To

hold otherwise would make the Court’s order extending the motion

to     compel       deadline    meaningless         because      there     would    be    no


                                              4
         Case 4:18-cv-00191-CDL Document 88 Filed 06/12/19 Page 5 of 9



discovery requests that could be compelled.               Accordingly, the

Court finds that Minter’s motion to compel shall not be denied

based upon his failure to serve his discovery requests within

the deadline established by the earlier case management order.1

      Frey argues that even if the January 25, 2019 discovery

requests are considered timely, he was not properly served with

the requests because he did not consent in writing to service of

discovery requests via email.          A “paper,” including a motion or

a discovery request, may be served under Rule 5 by “sending it

by   other    electronic   means    that   the   person   consented      to   in

writing--in . . . which event[] service is complete upon . . .

sending, but is not effective if the filer or sender learns that

it did not reach the person to be served.”                Fed. R. Civ. P.

5(b)(2)(E).2      In this case, Minter presented evidence that his

former    attorney,    Josh    Dell,   asked     Frey   about   his   service

preferences.      Specifically, Dell stated in an email to Frey: “I

presume email service to this [email] address is sufficient for

the federal court filings. If you prefer service some other way,


1
  The Court notes that Minter objected to Frey’s discovery requests
because they were untimely.    Given today’s ruling, those objections
lack merit. However, Frey has filed no motion to compel.
2
  Before December 1, 2018, a paper was served by “sending it by
electronic means if the person consented in writing.” Fed. R. Civ. P.
5(b)(2)(E) (Nov. 30, 2018).     And, a party could use the court’s
transmission facilities to make service if the court’s local rules
permitted it. Fed. R. Civ. P. 5(b)(3) (Nov. 30, 2018). The current
version of Rule 5 combines these two rules and dispenses with the
requirement that there be a local rule to authorize service via a
court’s facilities.


                                       5
       Case 4:18-cv-00191-CDL Document 88 Filed 06/12/19 Page 6 of 9



let me know.”       Def.’s Mot. to Compel Attach. 11, Email from J.

Dell to B. Frey (Jul. 6, 2018 at 8:21 AM), ECF No. 79-11.               Frey

responded, “Yes, this email is good.”               Id. Attach. 11, Email

from B. Frey to J. Dell (Jul. 6, 2018 at 3:51 PM), ECF No. 79-

11.    Frey   now    contends   that   he   meant   that   he   consented   to

service by email of only documents that were filed with the

court using the court’s electronic filing system, but not of any

other paper.3        That intention is not clear from the face of

Frey’s email.       Therefore, Minter was justified in believing that

Frey had consented to service of discovery requests by email.

Even if Frey had not so consented, any deficiency in Minter’s

service was harmless because it is clear that Frey received the

document requests.        The Court declines to deny the motion to

compel on this ground.

      Frey’s opposition to the motion to compel is based solely

on his contention that the requests were untimely and were not

properly served.        For the reasons set forth above, the Court

rejects those arguments and grants Minter’s motion to compel

against Frey (ECF No. 79).        Within twenty-one days of the date

of this Order, Frey shall serve his responses to Minter’s first

request for production of documents.            To the extent that Frey

claims that any responsive documents should be withheld based on
3 By virtue of registering for the Middle District of Florida’s
electronic filing system, Frey consented to electronic service of all
documents that were filed on that system. M.D. Fla. Admin. Procedures
for Elec. Filing § II.B.2.


                                       6
       Case 4:18-cv-00191-CDL Document 88 Filed 06/12/19 Page 7 of 9



attorney-client         or    other       privilege,            he    should        produce       the

documents to the Court for an in camera review, along with a

privilege      log     and     an     affidavit            asserting          the        basis    for

withholding each document.                At this point, the Court declines to

award Minter, who is proceeding pro se, payment of expenses

incurred in filing his motion to compel.                             Some of his wounds are

self-inflicted from his failure to obtain an extension of the

discovery deadline.

      B.     Initial Disclosures

      The Federal Rules of Civil Procedure require a party to

provide “a computation of each category of damages claimed by

the   disclosing           party--who        must         also        make     available          for

inspection and copying as under Rule 34 the documents or other

evidentiary       material,         unless      privileged             or     protected          from

disclosure,       on    which       each    computation               is     based,       including

materials      bearing        on    the     nature          and       extent        of     injuries

suffered.”        Fed. R. Civ. P. 26(a)(1)(A)(iii).                                 According to

Minter,    Frey      did     not    supplement            his   initial        disclosures         to

provide a computation of damages.                          Under Rule 37(c)(1), if a

party fails to provide information as required by Rule 26(a),

the   “party    is     not    allowed      to       use    that      information          . . .    to

supply evidence on a motion, at a hearing, or at a trial, unless

the failure was substantially justified or is harmless.”                                         Frey

did not respond to this portion of Minter’s motion to compel.


                                                7
        Case 4:18-cv-00191-CDL Document 88 Filed 06/12/19 Page 8 of 9



Within twenty-one days of the date of this Order, Frey shall

show cause why he should not be sanctioned in accordance with

Rule    37(c)(1)    with    regard       to     his     computation       of     damages

disclosures.

II.    Minter’s Motion to Compel Hunton (ECF No. 80)

       Minter also filed a motion to compel against non-party law

firm    Hunton,    contending       that       the     firm    failed     to     respond

adequately to his subpoena.              The documents that are the subject

of Minter’s subpoena to Hunton are the same documents that are

the subject of Minter’s document request number 1 to Frey: all

written communication between Frey and Kurt A. Powell from July

31, 2012 to the present.           Even though the Court has ordered Frey

to produce these same documents, Minter has the right to assure

himself that Frey’s production is complete.                        The only way that

can be accomplished is with this request upon Hunton.                          The Court

is sensitive about imposing unnecessary costs upon a non-party.

That concern can be addressed, however, by requiring Minter to

pay    for    Hunton’s   expenses       associated      with       responding    to    the

request.        Accordingly,      Hunton       shall    provide      Minter     with   an

estimated cost for responding to the requests, and upon payment

of    those    costs,    Hunton    shall       produce       the    documents     within

twenty-one      days.     For     any   documents       to    which    Hunton     claims

privilege, it shall produce the documents in camera to the Court




                                           8
      Case 4:18-cv-00191-CDL Document 88 Filed 06/12/19 Page 9 of 9



with a privilege log filed on the public docket and served on

the parties.

    IT IS SO ORDERED, this 12th day of June, 2019.

                                       S/Clay D. Land
                                       CLAY D. LAND
                                       CHIEF U.S. DISTRICT COURT JUDGE
                                       MIDDLE DISTRICT OF GEORGIA




                                   9
